           Case 1:19-sw-00881-TCB Document 1 Filed 06/14/19 Page 1 of 19 PageID# 1
AO 106(Rev. 04/10) Application for a Search Warrant



                                      United States District Court0
                                                                     for the                                           LI
                                                         Eastern District of Virginia

             In the Matter ofthe Search of
         (Briejly describe the property to be searched                                                                 j.         ^

          or identify the person by name and address)                            CaseNo. 1:19-SW-881
Digital mobile devices indentified in attachment A, which
 are in custody of the Federal Bureau of Investigation in
                       Manassas, Virginia

                                            APPLICATION FOR A SEARCH WARRANT

        1, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

 See attachment A

located in the              Eastern               District of             Virginia             ,there is now concealed (identify the
person or describe the property to be seized)'.
 See attachment B




          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                isT evidence ofa crime;
                isT contraband, fruits of crime, or other items illegally possessed;
                af property designed for use, intended for use, or used in committing a crime;
                 □ a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:

             Code Section                                                        Offense Description
        18U.S.C. §§ 2252(a)(1) and                 Transportation of visual depictions of minor engaged in sexually explicit conduct
        (b)(1)
        18 U.S.C. §§ 2252 (a)(2) and               Receipt and distribution of visual depictions of minors engaged in sexually explicit
          The application is based on these facts:

        See the attached affidavit


           fif Continued on the attached sheet.
           □ Delayed notice of                    days (give exact ending date if more than 30^ys:                          ) is requested
               under 18 U.S.C. § 3103a, the basis of which is set forth on


                                                                                              Applicant's signature

                                                                                        Ted. P. Delacourt, Special Agent
                                                                                              Printed name and title

                                                                                                          M
Sworn to before me and signed in my presence.
                                                                                     Theresa Cairgll Buchanan

Date:                1^^/ f"                                                                  fates Magistrate Judge

                                                                                                Judge's signature

City and state: Alexandria, Virginia                                       Honorable Theresa C. Buchanan, U.S. Magistrate Judge
                                                                                              Printed name and title
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